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UNlTED STATES DlsTRlcT CouRT

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ABDULLAH RABBAT,
Piaintiff,

v. Case No: 6:1?-cv-278-0r|-28KRS

COVINGTON SPECIALTY INSURANCE
COMPANY,

Defendant.

 

ORDER
On April 4, 2017, the Court entered its Case Managernent and Scheduling Order in
this case (Doo. 21), \i'\rhichl among other thingsl required the parties to consult and file a
Notice of Mediation Within fourteen days from the date of that Order. The parties failed to
do so. According|y, P|aintit°f shali t`lie the Notioe of |Vlediation Within Seven days from the

date of this Order.

DONE and ORDERED in Oriando, Fiorida.,ad , 201 .
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JOl-lN NTOON||
Unit States Distriot Judge

 

Copies furnished to:
Counsei of Reoord

 

